Case 4:20-cr-00212-ALM-KPJ Document 399 Filed 04/10/23 Page 1 of 1 PageID #: 3802




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION
   UNITED STATES OF AMERICA,                     )
                                                 )
                        Plaintiff,               )
   vs.                                           )            Case No. 4:20-CR-00212
                                                 )
   DEBRA LYNN MERCER-ERWIN (1)                   )
                                                 )
                        Defendants.              )

                                            ORDER

         Upon the filing of Defendant Debra Lynn Mercer-Erwin’s Motion in Limine Regarding

. Joaquin Guzman (the “Motion”) [Doc.344], the Court hereby orders as follows:
         Any reference to Joaquin Guzman, a/k/a El Chapo.

                GRANTED____X____             DENIED_________

         IT IS SO ORDERED.

          SIGNED this 10th day of April, 2023.




                                       ___________________________________
                                       AMOS L. MAZZANT
                                       UNITED STATES DISTRICT JUDGE
